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EXHIBIT A

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY MDL 1456

AVERAGE WHOLESALE PRICE

LITIGATION Master File No. 01-CV-12257-PBS
Subcategory Case No. 06-11337-PBS

THIS DOCUMENT RELATES TO: Judge Patti B. Saris

United States of America ex rel. Ven-A-Care of

the Florida Keys, Inc. y. Boehringer Ingelheim Magistrate Judge Marianne B. Bowler

Corporation, et al., Civil Action No. 07-

10248-PBS

AFFIDAVIT OF MARTIN L. ROTH

i, Martin L. Roth, depose and state as follows:

1, I am an attorney at law licensed to practice in the Commonwealth of
Massachusetts and the State of Illinois. I was admitted to the Massachusetts Bar in January
2008. J was admitted to the Illinois Bar in November 2008. I am also admitted to practice in the

United States Court of Appeals for the Seventh Circuit.

2. Lam a resident of Illinois and have been a practicing attorney for two years.
3. I am currently an attorney in the law firm of Kirkland & Ellis LLP.
4, I am a member in good standing of the Massachusetts Bar and am duly licensed

and admitted to practice law by the Commonwealth of Massachusetts. My Massachusetts
attorney identification number is 669396.

5. I am a member in good standing of the Illinois Bar and am duly licensed and
admitted to practice law by the State of Illinois. My Illinois attorney identification number is
6296464.

6. I have never been suspended or disbarred in any jurisdiction and there are no

disciplinary actions pending against me.

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7. My clients, Defendants Boehringer Ingelheim Corporation; Boehringer Ingelheim
Pharmaceuticals, Inc.; Roxane Laboratories, Inc,; and Roxane Laboratories, Inc. n/k/a
Boehringer Ingelheim Roxane, Inc. (collectively the “Boehringer Defendants”), in the above-
captioned action, have requested that [ represent their interests in this matter. The Boehringer
Defendants have been my clients since September 2008, and I have been actively involved in
representing the Boehringer Defendants’ interests since that time.

8, If the Court allows the Motion for me to appear pro hac vice in this matter, 1 will
continue to represent the Boehringer Defendants in this proceeding until the final determination
thereof, and with reference to all matters, incidents, or proceedings, I agree that I shail be subject
to the orders and amendabie to disciplinary action and the civil jurisdiction of this Court in all
respects as if I were regularly admitted.

Signed under the penalties of perjury this 24th day of September, 2009.

Met AR Bate

Martin L. Roth

